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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT


 UNIVERSITAS EDUCATION, LLC

                               Plaintiff,          CASE NO. 3:20-cv-00738-JAM
 v.

 BENISTAR, ET AL.

                               Defendants.



                                   JOINT STATUS REPORT

       Universitas Education, LLC (“Universitas”) and Avon Charitable Trust, Atlantic

Charitable Trust, Alliance Charitable Trust, Carpenter Charitable Trust, and Phoenix Charitable

Trust (collectively the “Defendant Trusts”) hereby submit the following Joint Status Report in

accordance with the Order of this Court entered on September 15, 2021. See Dkt. No. 186.

                               PROCEDURAL BACKGROUND

       1.      On February 18, 2021, Universitas served its first set of interrogatories and requests

for production on the Defendant Trusts. See Dkt. #114.

       2.      On March 17, 2021, the Defendant Trusts moved for an extension for responding

to the interrogatories and requests for production. See Dkt. #114.

       3.      On March 18, 2021, the Court granted the Defendant Trusts’ motion and extended

the deadline for responding to Universitas’ discovery requests to April 19, 2021. See Dkt. #116.

       4.      On April 12, 2021, the Defendant Trusts provided Universitas with their responses

to Universitas’ discovery requests.

       5.      On April 30, 2021, the Defendant Trusts provided Universitas with amended

responses to Universitas’ discovery requests.
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       6.        On May 14, 2021, the Charitable Trusts provided Universitas with their second

amended responses to Universitas’ discovery requests.

       7.        On May 27, 2021, the parties called Chambers regarding the discovery dispute. See

Dkt. #140.

       8.        On June 2, 2021, the Court ordered the parties to submit memoranda “detailing the

merits of the discovery disputes concerning document production and interrogatory responses.”

See Dkt. #142.

       9.        On June 6, 2021, the parties submitted memoranda in accordance with the Court’s

instructions. See Dkt. #144 and #146.

       10.       On June 10, 2021, the Court held a Discovery Hearing wherein it instructed the

parties to confer and attempt to narrow the scope of the discovery dispute. See Dkt. #147.

       11.       On June 18, 2021, the Court held a Discovery Hearing wherein it instructed

Universitas to file a proposed order and permitted the Defendant Trusts to object to said proposed

order. See Dkt. #151.

       12.       On June 25, 2021, the parties each filed proposed orders and objections thereto. See

Dkt. #154 and # 156.

       13.       On July 19, 2021, the Court entered a Discovery Order requiring the Defendant

Trusts to produce eleven (11) types of documents and provide supplemental responses to

Universitas’ interrogatories. See Dkt. #163.

       14.       On August 18, 2021, the Defendant Trusts provided Universitas with their

supplemental interrogatory responses and tax returns.




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        15.       On August 19, 2021, the Court held a Discovery Hearing wherein it instructed the

parties to “meet and confer to ensure compliance with the Court’s July 19, 2021 order.” See Dkt.

#179.

        16.       On August 20, 2021 the Defendant Trusts produced bank records for an account at

JPMorgan Chase for the period of December 11, 2012 through January 9, 2013.

        17.       On September 9, 2021, the Defendant Trusts produced three Declarations of Trust.

        18.       On September 15, 2021, the Court held a Discovery Conference wherein the Court

instructed the parties to “review the Court’s July 19, 2021 order again with plaintiff’s counsel to

identify what responsive documents exist as to each item listed on the Order… and to list

specifically any items that they do not have in their possession.” See Dkt. #186.

        19.       On September 21, 2021, Universitas sent the Defendant Trusts a letter concerning

this discovery dispute.

        20.       On October 1, 2021, the parties conferred and discussed documents within the

scope of the Court’s instructions, and the Defendant Trusts’ counsel indicated to Universitas that

he would make his best efforts to locate and produce these documents to Universitas.

                                              STATUS

   I.         Universitas’ Position

        The Defendant Trusts previously claimed that they produced all responsive documents

within their possession, custody, and/or control. However, the record demonstrates that the

Defendant Trusts previously had responsive documents which have not been produced, including:

              •   Emails concerning the Defendant Trusts’ receipt of assets. See PJR App., Ex. 11,
                  Ex. 12, and Ex. 14 [Dkt. # 11].
              •   Email discussing the Defendant Trusts’ bank records. See PJR App., Ex. 12 [Dkt.
                  # 11].
              •   Bank records establishing that the Defendant Trusts had an account with TD Bank.
                  See PJR App., Ex. 13 [Dkt. # 11].


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Accordingly, the Defendant Trusts either (1) are refusing to produce responsive documents, or (2)

no longer have possession, custody, and/or control over such documents, which necessarily means

that these documents were destroyed at a time when the Defendant Trusts knew of pending

litigation between them and Universitas.

          Universitas maintains that this ongoing discovery “dispute” is willful misconduct

undertaken by the Defendant Trusts’ sole trustee Daniel Carpenter as part of his bad-faith efforts

to render Universitas’ collection efforts cost prohibitive by increasing Universitas’ attorneys’ fees

through frivolous and unnecessary litigation. Mr. Carpenter’s bad-faith motivations were (again)

confirmed earlier this week when the court (again) sanctioned Mr. Carpenter for filing motions

with a “motiv[ation] … to cause unnecessary expense to Universitas and undue burden on the

Court.” See Universitas Educ., LLC v. Nova Grp., Inc., No. 11-CV-1590-LTS, 2021 U.S. Dist.

LEXIS 186211, at *33-*38 (S.D.N.Y. Sep. 28, 2021).

          Should the Defendant Trusts claim that these documents are no longer within their

possession, custody, and/or control, then Universitas will be forced to file a motion regarding

sanctions for spoilation of evidence. Should the Defendant Trusts otherwise continue to not

comply with the Discovery Order, then Universitas believes it has no choice but to move the Court

to find Mr. Carpenter in contempt of court for the Defendant Trusts’ noncompliance.1

    II.      Defendant Trusts’ Position

          The Trusts maintain that they are in compliance with the Court’s order and worked in good

faith with Plaintiff’s counsel to produce the documents that are in their possession, custody, and

control. The Trusts have made a number of disclosures, as noted above, in compliance with the



1This belief is predicated upon the Court’s prior ruling that the only discovery sanctions it would
impose against the Defendants would be for contempt of a discovery order. See Dkt. # 179.

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Court’s order. The Plaintiff points to exhibits it filed in its application for a prejudgment remedy

that purport to show documents they seek were in the possession of the Trusts and their Trustee in

2013. The Plaintiff brings this action 7 years after and contends that the Trusts are willfully

refusing to produce said documents or have destroyed them.

       The Trusts firmly deny that the documents the Plaintiff seeks are within their possession,

custody or control or within the possession, custody, and control of their attorney and accountants.

The Trusts also deny that they have intentionally or negligently destroyed said documents when

they knew or should have known of the pending litigation. There is ample evidence in the record

that has been provided to Plaintiff’s counsel that the Trustee of the Trusts was incarcerated for

several years after 2013 and that there were multiple federal seizures of documents pursuant to a

criminal investigation against the Trustee. Information has been provided to Plaintiff's counsel

that, although the Trustee's criminal case has concluded, there is still post judgment litigation and

the federal government maintains a protector order that remains in place to limit the access and

prohibit the distribution of confiscated financial documents. Information has also been obtained

that the Internal Revenue Service has destroyed documents it had in its possession pursuant to its

action against the Trustee.



                                              Respectfully Submitted,
                                              The Defendant Trusts

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